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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

                                Plaintiff,                 Civil Action No. 20-cv-7628-PAC

                      v.                                                ECF Case

 ADAM P. ROGAS,

                                Defendant,

 and

 NS8 FP, LLC, MVP 2020, LLC, AND
 ROGASSI ENTERPRISES, LLC

                        Relief Defendants.


                                 [PROPOSED]
               ASSET FREEZE AND ORDER GRANTING OTHER RELIEF


       This Court issued an emergency ex parte Order: (1) freezing $35,084,900 of funds and

other assets of Defendant Adam Rogas and Relief Defendants NS8 FP, LLC, MVP 2020, LLC,

and Rogassi Enterprises, LLC, wherever located; (2) requiring Defendant and Relief Defendants

to provide accountings of all funds or other assets received in June 2020 through an equity

redemption of NS8, Inc. securities; (3) prohibiting the destruction or alteration of documents; (4)

providing for expedited discovery; (5) providing alternative service by the Commission; and (6)

setting this matter for a further hearing. Defendant Adam Rogas and Relief Defendants NS8 FP,

LLC, MVP 2020, LLC, and Rogassi Enterprises, LLC have consented to continuation of some of

this relief pending resolution of the merits of this matter through trial or otherwise. Specifically,

Defendant and Relief Defendants have consented to issuance of an Order (1) freezing
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$35,084,900 of funds and other assets of Defendant Adam Rogas and Relief Defendants NS8 FP,

LLC, MVP 2020, LLC, and Rogassi Enterprises, LLC, wherever located; and (2) prohibiting the

destruction or alteration of documents pending resolution of the merits of this matter through

trial or otherwise.

        Now, therefore,

                                                 I.

    IT IS HEREBY ORDERED that, pending resolution of the merits of this matter through trial

or otherwise:

    A. $35,084,900 of assets, funds, or other property of Defendant Adam Rogas and Relief

Defendants NS8 FP, LLC, MVP 2020, LLC, and Rogassi Enterprises, LLC, wherever located or

by whomever held, and whether acquired before or after institution of this action, are frozen;

    B. Defendant, Relief Defendants, and their officers, directors, successor corporations,

subsidiaries, affiliates, trustees, family members, agents, servants, employees, attorneys-in-fact,

and those persons in active concert or participation with them who receive actual notice of this

order by personal service or otherwise, and each of them, shall hold and retain within their

control, and otherwise prevent any disposition, transfer, pledge, encumbrance, assignment,

dissipation, concealment, or other disposal whatsoever of any of their funds or other assets or

things of value presently held by them, under their control or over which they exercise actual or

apparent investment or other authority, in whatever form such assets may presently exist and

wherever located, up to $35,084,900; and

    C. Any bank, financial or brokerage institution or other person or entity holding any funds,

securities or other assets in the name of, for the benefit of, or under the control of Defendant

Adam Rogas and Relief Defendants NS8 FP, LLC, MVP 2020, LLC, and Rogassi Enterprises,



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LLC, and their officers, directors, successor corporations, subsidiaries, affiliates, trustees, family

members, agents, servants, employees, attorneys-in-fact, and those persons in active concert or

participation with them, shall hold and retain within their control and prohibit the withdrawal,

removal, transfer or other disposal of any such funds or other assets. This Order specifically

applies, but is not limited, to the following accounts:

 Institution Name                        Account Name                    Account Number

 Bank of America, N.A.                   Unknown                         xxxx xxxx 8288

 Bank of America, N.A.                   Unknown                         xxxx xxxx 7349

 Silicon Valley Bank                     Adam Rogas                      xxxxxx9397

 Silicon Valley Bank                     Adam Rogas                      xxxxxx3309

 National Financial Services, LL         Adam Rogas                      unknown


   D. No person or entity, including the Defendant or any Relief Defendant, or any creditor or

claimant against the Defendant or any Relief Defendant, or any person acting on behalf of such

creditor or claimant, shall take any action to interfere with the asset freeze, including, but not

limited to, the filing of any lawsuits, liens, or encumbrances, or bankruptcy cases to impact the

property and assets subject to this order; provided, however, that any party or non-party may

seek leave from this order upon a proper showing.

   E. Copies of this Order may be served by any means, including facsimile transmission and

email, upon any entity or person that may have possession, custody, or control of any assets of

Defendant or Relief Defendants that may be subject to any provision of this Order.

                                                  II.

        IT IS HEREBY FURTHER ORDERED that the Commission may file Notices of Lis

Pendens, or any similar document that has the effect of clouding title, on all pieces of real

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property in which the Defendant or Relief Defendants have an interest that is known to the

Commission. Should the Defendant or Relief Defendants wish to sell any piece of real property

in which he has an interest, he shall give counsel for the Commission notice of the proposed sale

and seek and obtain the concurrence of the Court in the transaction prior to the sale. The

Defendant or Relief Defendant shall fully account for any proceeds received from the sale of

such property to the Court and counsel for the Commission, and the proceeds of such sales shall

be frozen pursuant to the provisions of this Order and submitted to the registry of the Court; and

the Defendant and Relief Defendants are hereby prohibited from further encumbering their

interests in any real or personal property by means of pledging it for collateral for any purpose or

by allowing it to secure any obligation. This order applies, but is not limited, to the following

property:

        9813 Moon Valley Pl, Las Vegas, NV 89134-6738

                                                 III.

       IT IS HEREBY FURTHER ORDERED that, the Defendant, Relief Defendants, and their

officers, directors, successor corporations, subsidiaries, affiliates, trustees, family members,

agents, servants, employees, attorneys-in-fact, and those persons in active concert or

participation with them, are prohibited from destroying or altering records. Pending further order

of the Court or resolution of the merits of this matter through trial or otherwise, Defendant,

Relief Defendants, and their officers, directors, successor corporations, subsidiaries, affiliates,

trustees, family members, agents, servants, employees, attorneys-in-fact, and those persons in

active concert or participation with them who receive actual notice of this order by personal

service or otherwise, and each of them, are hereby restrained from destroying, mutilating,

concealing, altering, or disposing of any document referring or relating in any manner to any



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transactions described in the Commission's Complaint in this action, or to any communications

by or between the Defendant and Relief Defendants. As used in this order, "document" means

the original and all non-identical copies (whether non-identical because of handwritten notation

or otherwise) of all written or graphic matter, however produced, and any other tangible record,

or electronic data compilation capable of reproduction in tangible form, including, without

limitation, computer data, e-mail messages, correspondence, memoranda, minutes, telephone

records, reports, studies, telexes, diaries, calendar entries, contracts, letters of agreement, and

including any and all existing drafts of all documents.

                                                  IV.

       The Show Cause Hearing scheduled for September 25, 2020 is vacated.

                                                  V.

       IT IS HEREBY FURTHER ORDERED that the Court shall retain jurisdiction of this

matter for all purposes.
                 24th day of September, 2020,
SO ORDERED, this ____




                                               UNITED STATES DISTRICT JUDGE




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